        Case 1:24-cr-00542-AS         Document 179         Filed 03/17/25       Page 1 of 2




March 17, 2025


VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

       Pursuant to the Court’s Individual Rules, we submit this letter on behalf of both parties to
respectfully request that the Court permit both parties to file oversized principal briefs, of up to
30 pages, in connection with Sean Combs’s forthcoming motion to preclude the government’s
Rule 413/404(b) evidence. Mr. Combs’s opening memorandum is due March 19, 2025, and the
government’s opposition is due March 26, 2025. The government consents to this request.

                                                      Respectfully submitted,

                                                      /s/ Alexandra A.E. Shapiro
                                                      Alexandra A.E. Shapiro
                                                      Jason A. Driscoll
                                                      SHAPIRO ARATO BACH LLP
                                                      1140 Avenue of the Americas, 17th Fl.
                                                      New York, NY 10036
                                                      (212) 257-4880
                                                      ashapiro@shapiroarato.com
                                                      jdriscoll@shapiroarato.com

                                                      Marc Agnifilo
                                                      Teny Geragos
                                                      AGNIFILO INTRATER
                                                      445 Park Ave., 7th Fl.
                                                      New York, NY 10022
                                                      646-205-4350
                                                      marc@agilawgroup.com
                                                      teny@agilawgroup.com
      Case 1:24-cr-00542-AS   Document 179   Filed 03/17/25   Page 2 of 2

                                                                            Page 2
Hon. Arun Subramanian
March 17, 2025

                                        Anna Estevao
                                        SHER TREMONTE LLP
                                        90 Broad St., 23rd Fl.
                                        New York, NY 10004
                                        (212) 202-2600
                                        aestevao@shertremonte.com
